Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Pagelof6

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA _ : Case No: 1:21-cr-00345

18 U.S.C. § 111(a)(1)
(Assaulting, Resisting, or Impeding Certain Officers or

Vv. ; Employees)
: 18 U.S.C. § 1512(c)(2)
DUKE EDWARD WILSON : (Obstruction of an Official Proceeding)

: [ilLy-
Defendant. Fed C Dine

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Duke Edward Wilson, with the concurrence of his attorney, agree and stipulate to the below
factual basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the
parties stipulate that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

I. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Page2of6

Bn On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count
of the Electoral College of the 2020 Presidential Election, which had taken place on November
3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by
approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint

séssion, and then in the Senate chamber.

eu Wa
ay

‘4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

5. At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

Page 2 of 6
Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Page 3of6

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.
Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Duke Edward Wilson’s Participation in the January 6, 2021, Capitol Riot
8. On approximately January 3“ or 4", 2021, the defendant left his home in Nampa,
Idaho to travel to Washington D.C. to attend the “Stop the Steal” rally. The defendant went to
the Capitol on January 6, 2021 wearing a dark colored jacket with a long sleeved blue shirt
underneath and a purple and white baseball hat that read, “CNN” with the words “FAKE
NEWS” underneath it.
9. The defendant entered the lower west terrace tunnel area of the U.S. Capitol

building shortly before 3 p.m. Rioters were pushing against law enforcement officers in an

Page 3 of 6
Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Page4of6

attempt to gain entry into the building, while spraying liquid irritants toward the officers as they
pushed on the officers’ shields. The defendant made his way to the front line of the rioters, and
as officers tried to close a set of double doors, the defendant grabbed and tried to pull the door
open. The defendant then raised what appeared to be a tablet device in order to deflect the liquid
irritant officers were spraying back at the rioters. The defendant then picked up a several feet
long white cylindrical object, believed to be a thin polyvinyl chloride (PVC) pipe, and
indiscriminately struck at the officers with it, hitting A.G., as charged in Count 3 of the
Indictment. He then raised the object above his head and threw it into the line of officers. Next,
another rioter yelled, “Send the shield back, send the shield back” and “Take the goddamn
shield,” at which point the defendant assisted other rioters in attempting to pull a shield away
from an officer. During the struggle over the shield, the defendant pushed an officer to the
ground and then pushed against another officer, along with other rioters.

10. The defendant knew at the time he entered the U.S. Capitol Building that that he
did not have permission to enter the building and the defendant did so with the intent to corruptly
obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress,
specifically, Congress’s certification of the Electoral College vote as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

11. | When the defendant struck A.G., an officer and employee of the United States
Capitol Police, the defendant knew that the officer was engaged in the performance of official

duties.

Respectfully submitted,

CHANNING D. PHILLIPS
Acting United States Attorney

Page 4 of 6
Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Page5of6

D.C. Bar No. 415793

By: = /s/ Christopher T. Tortorice
Christopher T. Tortorice
Assistant United States Attorney

Page 5 of 6
Case 1:21-cr-00345-RCL Document18 Filed 09/07/21 Page6of6

DEFENDANT’S ACKNOWLEDGMENT

I, Duke Edward Wilson, have read this Statement of the Offense and have discussed it with
my attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate, I do this voluntarily and of my
own free will..No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

pice -(P- J-! ( 4 h, Likes ale fe z Cem

ce e Edward Wilson
Defendant

7.

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of me Offense as true and accurate.

(Ve OE
/ Zo -
pate 7 [2 ‘harles Petersoh a

Attorney for Defendant

Page 6 of 6
